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AO 83 (Rev. 3/11} (CT Rev 10/15) Summons in a Criminal Case

UNITED STATES DISTRICT COURT

for the
District of Connecticut
United States of America
vO Case No. 0205 3:18CR00005-001

Candace Christine Rispoli
Defendant

SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth below to
answer to one or more offenses or violations based on the following document filed with the court:

(C] Indictment {_] Superseding Indictment [J Information [-] Superseding Information [[] Complaint

[] Probation Violation Petition [_] Supervised Release Violation Petition ([[] Violation Notice Order of the Court

 

 

Place: Honorable Victor A. Bolden
U.S. Distnct Judge

915 Lafayette Boulevard - Suite 417 oo | .
Bridgeport, CT 06604 Date and Time: May 9, 2019 2:00 PM

Courtroom No.: Courtroom 2

 

 

 

 

 

This offense is briefly described as follows:
The defendant was discharged unsuccessfully from inpatient treatment.

 

 

 

Date: 5/7/2019

 

 

r > Sage a cer’ Ss signature
Kathi lowes Digody Ark.

Printed ‘Name and Title*

 

I declare under penalty of perjury that I have: . |

a Executed and returned the summons [_] Returned the summons unexecuted

|
Date: 613 \G

  
 

 

 

 

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QI Server's signature

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Lise VorSonnipel US
Printed name and title
INSTRUCTIONS: Check this box to lock fields when completed. Issuing Officer is the Clerk of Court ance checked Form aN NOT be edited, you may want to save this
C form then check this box.

 
